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     MONSANTO COMPANY
 9

10                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
11

12   IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
     LIABILITY LITIGATION                               Case No. 16-md-02741-VC
13

14   This document relates to:
15   ALL ACTIONS
16

17          DECLARATION OF JOE G. HOLLINGSWORTH IN SUPPORT OF
           MONSANTO COMPANY’S REPLY MEMORANDUM OF POINTS AND
18      AUTHORITIES IN SUPPORT OF ITS DAUBERT AND SUMMARY JUDGMENT
19        MOTION BASED ON FAILURE OF GENERAL CAUSATION PROOF AND
         OPPOSITION TO PLAINTIFFS’ DAUBERT MOTION TO STRIKE CERTAIN
20           OPINIONS OF MONSANTO COMPANY’S EXPERT WITNESSES

21
            I, Joe G. Hollingsworth, hereby declare as follows:
22
            1.     I am an attorney at law and am a member of the law firm of Hollingsworth LLP,
23
     counsel for defendant Monsanto Company (“Monsanto”). I make this declaration in support of
24
     Monsanto Company’s Reply Memorandum of Points and Authorities in Support of Its Daubert
25
     and Summary Judgment Motion Based on Failure of General Causation Proof and Opposition to
26
     Plaintiff’s Daubert Motion to Strike Certain Opinions of Monsanto Company’s Expert
27
     Witnesses. I make this declaration based on my personal knowledge and, if called as a witness, I
28
                                                    1
           DECL. ISO MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL
                CAUSATION AND OPP. TO PLFS’ MOTION TO EXCLUDE (3:16-md-02741-VC)
     Case 3:16-md-02741-VC Document 681-1 Filed 11/10/17 Page 2 of 2



 1
     would and could testify competently to these matters.
 2
            2.     Annexed hereto as Exhibit 1 is a true and correct copy of an excerpt of the
 3
     Transcript of Official Proceedings, MDL No. 2741 (N.D. Cal. Feb. 27, 2017), ECF No. 184.
 4
            3.     Annexed hereto as Exhibit 2 is a true and correct copy of an excerpt of the
 5
     Deposition of John Acquavella, Vol. II (Apr. 8, 2017).
 6
            4.     Annexed hereto as Exhibit 3 is a true and correct copy of an excerpt of the
 7
     Deposition of David Saltmiras (Jan. 31, 2017).
 8
            5.     Annexed hereto as Exhibit 4 is a true and correct copy of the Errata Sheet to the
 9
     Deposition of Alfred Neugut (served Nov. 5, 2017).
10
            6.     Annexed hereto as Exhibit 5 is a true and correct copy of the Order Granting New
11
     Trial and Granting Motion for Judgment Notwithstanding the Verdict, Lloyd v. Johnson &
12
     Johnson, Case No. BC628228, Slip op. (Cal. Super. Ct., LA Cnty Oct. 20, 2017).
13
            I hereby declare under penalty of perjury that the facts set forth herein are true and
14
     correct.
15
            Executed this 10th day of November 2017.
16

17

18                                                    /s/ Joe G. Hollingsworth
                                                      Joe G. Hollingsworth (pro hac vice)
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23                                                    Attorneys for Defendant
                                                      MONSANTO COMPANY
24

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                                                      2
           DECL. ISO MONSANTO’S REPLY MEM. ISO ITS DAUBERT & SUMM. J. MTN. RE GENERAL
                CAUSATION AND OPP. TO PLFS’ MOTION TO EXCLUDE (3:16-md-02741-VC)
